Filed 06/26/19                         Case 19-01045                               Doc 31



                              UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES
           _____________________________________________________________________
           Case Title: Elmer Leroy Falk and   Case No.: 18-14207 - A - 7
           Kathleen Elizabeth Falk            Adv No.: 19-01045
           Adversary Title: Home Depot
           U.S.A., Inc. v. Salven et al
                                              Docket Control No. LSY-1
                                              Date: 06/26/2019
                                              Time: 10:00 AM

           Matter: [10] - Motion for Interpleader Deposit (28 U.S.C. Section
           1335) [LSY-1] Filed by Plaintiff Home Depot U.S.A., Inc. (cwef)
           [10] - Notice of Hearing Re: [10] Motion for Interpleader Deposit
           (28 U.S.C. Section 1335) [LSY-1] to be held on 6/26/2019 at 10:00
           AM at Fresno Courtroom 11, Department A. (cwef)

           Judge: Fredrick E. Clement
           Courtroom Deputy: Rosalia Estrada
           Reporter: Not Recorded
           Department: A
           _____________________________________________________________________
           APPEARANCES for:
           Movant(s):
           None
           Respondent(s):
           None
           _____________________________________________________________________
                                       CIVIL MINUTES
           The hearing on this motion will be continued to July 18, 2019 at
           10:00 a.m., to be heard in conjunction with this court’s Order to
           Show Cause (ECF No. 26) and Moore Law Firm’s motion to dismiss (ECF
           No. 18). The record on this motion is closed.
